Case 2:17-cv-01649-AFM Document 45 Filed 12/08/17 Page 1 of 2 Page ID #:940



 1

 2

 3

 4

 5

 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   NAUTILUS INSURANCE                         Case No. CV 17-01649 AFM
12   COMPANY,,

                        Plaintiff,              ORDER SETTING SCHEDULING
13
                                                CONFERENCE
14         v.                                   Date:     January 30, 2018
15                                              Time:     10:00 a.m.
     DAY TO DAY FASHION, INC.,
                                                Location: Courtroom 780, 7th Floor
16   et al.,
                                                          255 East Temple Street
17                                                        Los Angeles, CA
18                      Defendants.

19

20                             READ THIS ORDER CAREFULLY
21         The matter is set for a scheduling conference on Tuesday, January 30,
22   2018, at 10 a.m. The conference will be held pursuant to Fed. R. Civ. P. 16(b).
23   The parties are reminded of their obligations to disclose information and confer on
24   a discovery plan not later than 21 days prior to the scheduling conference and to
25   submit a joint report to the Court not later than 14 days after they confer as required
26   by Fed. R. Civ. P. 26(f) and Local Rule 26-1. Counsel are further directed to
27   submit form ADR-1, located on the Court’s website at www.cacd.uscourts.gov, no
28
Case 2:17-cv-01649-AFM Document 45 Filed 12/08/17 Page 2 of 2 Page ID #:941



 1   later than 7 days before the scheduling conference date.
 2         IT IS SO ORDERED.
 3

 4   DATED: 12/8/2017
 5

 6
                                           ____________________________________
                                                ALEXANDER F. MacKINNON
 7                                         UNITED STATES MAGISTRATE JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                              2
